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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JULIE A. SU,                        :
ACTING SECRETARY OF LABOR,          : Civil Action No. 2:21-cv-05076-EAS-KAJ
UNITED STATES DEPARTMENT OF LABOR, :
                                    :
      Plaintiff,                    : Judge Edmund A. Sargus, Jr.
                                    :
v.                                  :
                                    : Magistrate Judge Kimberly A. Jolson
AMERICARE HEALTHCARE SERVICES, INC. :
and DILLI ADHIKARI,                 :
                                    :
      Defendants.                   :

      PLAINTIFF’S MOTION TO ADMIT DEPOSITION TESTIMONY OF JOHN
                              LINKOSKY

       Pursuant to Fed. R. Civ. P. 32 and Fed. R. Evid. 804, Plaintiff, Julie A. Su, Acting Secretary

of Labor, United States Department of Labor (“Plaintiff” or “Acting Secretary”) moves for an

Order allowing her to admit the deposition of Attorney John Linkosky (“Attorney Linkosky”)

(taken in the pending enforcement action against Intra-National Home Care, LLC and Dilli

Adhikari, Case No. 2:21-cv-1391) into evidence at trial. 1 A true and accurate copy of the subject
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deposition transcript is attached hereto as Exhibit 1. Attorney Linkosky is unavailable to testify,

both because he is more than 100 miles from the place of trial and he is of advanced age. Attorney

Linkosky has knowledge relevant to the state of mind of Defendants Americare Healthcare

Services, Inc. (“Americare”) and Dilli Adhikari (“Adhikari”) (together, “Defendants”) at the time

of the Fair Labor Standards Act (FLSA) violations at issue – which speaks both to the willfulness

of the violations and the unviability Defendants good faith affirmative defense with respect to




1Undersigned counsel contacted Defendants’ counsel to obtain their position on this Motion. Defendants’
counsel indicated that they would oppose the Motion.
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liquidated damages. As such, it is imperative the Court and jury have the opportunity to hear

Attorney Linkosky’s testimony regarding the legal advice he provided Defendants.

I.     BACKGROUND

       Throughout this litigation, Defendants Americare Healthcare Services, Inc. (“Americare”)

and Dilli Adhikari (“Adhikari”) (together, “Defendants”) have asserted they received legal advice

from Attorney Linkosky that they claim is relevant to a good faith defense to their violations of

the Fair Labor Standards Act (FLSA).         (See Ex. 2, Defendants Answers and Objections to

Plaintiff’s First Set of Interrogatories; ECF 85, PAGEID 26354-56). Therefore, it is anticipated

they will continue to claim the same during trial. Linkosky, however, has offered sworn testimony,

in the form of a declaration filed in the present case and testimony offered in a different, related

enforcement action pending in the Western District of Pennsylvania, that directly contradicts

Defendants’ good faith affirmative defense. His testimony is unquestionably relevant to these

proceedings and is key in the Court making an informed decision regarding Plaintiff’s entitlement

to liquidated damages. 2 Linkosky’s testimony also speaks directly to Defendants’ state of mind at
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the time they violated the FLSA and, as such, is highly relevant to the jury’s determination as to

whether Defendants willfully violated the Act. 3  2 F




       As mentioned above, the Acting Secretary has another enforcement action pending in the

United States District Court, Western District of Pennsylvania against Adhikari and Intra-National

Home Care, LLC (Case No. 2:21-cv-1391). Intra-National Home Care, LLC, like Americare, is



2Liquidated damages are within the sole purview of the Court. See Martin v. Indiana Michigan Power Co.,
381 F.3d 574, 584 (6th Cir. 2004) (“[C]ongress has provided the courts with some discretion to limit or
deny liquidated damages.”).
3 The Acting Secretary has provided a detailed explanation of the scope of Linkosky’s knowledge and

testimony in her Motion for Summary Judgment (ECF No. 78-1, PAGEID 25471-74). As is evident from
that Motion, Linkosky has relevant knowledge that is undoubtedly significant to the present case.
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solely owned by Adhikari and provides home care services. Intra-National Home Care, LLC,

however, provides such services in Pennsylvania, while Americare provides home care services in

Ohio. The FLSA violations in the Western District of Pennsylvania case are the same as those in

this case – they both involve overtime violations resulting from the employers paying straight time

for overtime and from the employers manipulating employees’ regular rates to avoid paying time

and a half for overtime hours worked. Linkosky’s March 22, 2023 deposition testimony in the

Western District of Pennsylvania case addressed advice he provided to Adhikari for the

compensation practices of both Intra-National Home Care, LLC, and Americare. Notably, counsel

who represents Defendants in the current action, represents Intra-National Home Care, LLC and

Adhikari in the Western District of Pennsylvania matter. In the Intra-National Home Care, LLC

action, the Acting Secretary was able to depose Linkosky before his health issues prevented him

from sitting for deposition. Counsel for Defendants in this action were present at the deposition

of Linkosky, were able to (and, in fact, did) question Linkosky at this deposition and to represent

Defendants’ interests.

       When undersigned counsel sought the deposition of Linkosky in this action, Linkosky

provided an opinion from a medical provider that he was not medically able to sit for a deposition.

(See Exhibit 3, Doctor’s Note). As a result, undersigned counsel obtained a declaration from

Linkosky, which was submitted with the Acting Secretary’s summary judgment motion. (ECF #

72-1). Linkosky resides and works in the Carnegie, Pennsylvania area, over 100 miles from this

Court. (Id.). Linkosky is also of advanced age – he is in his 80s. Undersigned counsel contacted

Linkosky to procure his testimony at trial, but he refused.




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II.     LAW AND ARGUMENT

        Rule 32 of the Federal Rules of Civil Procedure governs whether a party may enter into

evidence deposition testimony from another proceeding. Fed. R. Civ. P. 32 provides, in relevant

part:

        At a hearing or trial, all or part of a deposition may be used against a party on these
        conditions: (A) the party was present or represented at the taking of the deposition
        or had reasonable notice of it; (B) it is used to the extent it would be admissible
        under the Federal Rules of Evidence if the deponent were present and testifying;
        and (C) the use is allowed by Rule 32(a)(2) through (8).

Fed. R. Civ. P. 32(a)(1). Rule 32(a)(4) allows use of the deposition testimony if the witness,

including a non-party witness, is unavailable for trial. A witness is considered “unavailable” if

“the witness is more than 100 miles from the place of hearing or trial . . .” Fed. R. Civ. P.

32(a)(4)(B). A witness also is considered unavailable when “the witness cannot attend or testify

because of age, illness, infirmity, or imprisonment.” Fed. R. Civ. P. 32(a)(4)(C). Rule 32(a)(8)

provides that:

        A deposition lawfully taken and, if required, filed in any federal- or state-court
        action may be used in a later action involving the same subject matter between the
        same parties, or their representatives or successors in interest, to the same extent as
        if taken in the later action. A deposition previously taken may also be used as
        allowed by the Federal Rules of Evidence.

Fed. R. Civ. P. 32(a)(8) (emphasis added).

        Here, the Acting Secretary can satisfy the first element of Fed. R. Civ. P. 32(a)(1) as the

party was present or represented at the March 22, 2023, Linkosky deposition. The Acting Secretary

took the deposition of John Linkosky in the related enforcement action pending against Adhikari

and Intra-National Home Care, LLC, in the United States District Court, Western District of

Pennsylvania, Case No. 2:21-cv-1391. In that case, Adhikari and Intra-National Home Care, LLC

were represented by the same counsel that represent Adhikari and Americare in this case – Bruce



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Fox. Mr. Fox was present at that deposition. Adhikari testified in the instant case that when he

consulted with John Linkosky, he did so on behalf of both Americare and Intra-National Home

Care, LLC. (See ECF 64-1, PAGEID 390, ln. 11-14). The Acting Secretary’s claims against

Americare and Intra-National Home Care, LLC are the same – that each company and their owner

Adhikari willfully violated the FLSA by effectively paying their home health aide employees

straight time for overtime. Indeed, in United States v. Atlas Lederer Company, Case No. 3:91-cv-

309, 2012 WL 13226237, *3 (S.D. Ohio Jan. 10, 2012), the court found that even though the

objecting party was not represented or given notice of the deposition at issue, that the objecting

party’s interests were adequately represented at the deposition by counsel for the objecting party’s

company, and allowed use of the deposition as substance evidence at trial. As such, Adhikari was

represented at the Linkosky deposition and both his interests and those of Americare were

adequately represented at said deposition.

       As to the second and third elements, Linkosky’s deposition testimony is admissible under

the Federal Rules of Evidence and is allowed by Rule 32(a)(2) through (8). Specifically, as in

Atlas Lederer, the deposition testimony is allowed because Linkosky is unavailable for trial, here,

due to him being more than 100 miles from the place of the trial. Fed. R. Civ. P. 32(a)(4)(B). The

Linkosky deposition is also admissible generally under the Federal Rules of Evidence, specifically

Fed. R. Evid. 804(a)(5)(A). Here, Plaintiff has been unable to obtain Linkosky’s voluntary

attendance at trial, and the Court does not have subpoena power over Linkosky due to his location

over 100 miles from the trial location. Finally, the Linkosky deposition meets the requirements of

Rule 32(a)(8), as the deposition “may also be used as allowed by the Federal Rules of Evidence”

as discussed above. See Pinkney v. Winn-Dixie Stores, Inc., No. CV214-075, 2014 WL 7272551,

*2 (S.D. Ga. Dec. 17, 2014) (finding that deposition testimony from another case is admissible



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where “allowed by the Federal Rules of Evidence” without regard to whether the action involved

the same subject matter between the same parties).

           In further support of this Motion, the Acting Secretary submits that several courts

(including this Court) have allowed the admission of non-party deposition testimony into evidence

at trial under similar circumstances. See Shanklin v. Norfolk Southern Ry. Co., 369 F.3d 978 (6th

Cir. 2004) (affirming decision of trial court to admit deposition testimony from other case into

evidence); Abernathy v. Corinthian Colleges, Inc., No. 2:10-cv-131, 2013 WL 28251, *10 (S.D.

Ohio Jan. 2, 2013) (applying Fed. R. Civ. P. 32 and allowing admission at trial of non-party’s

deposition testimony in prior action where offering party could not obtain the witness’ attendance

by subpoena); Pinkney, 2014 WL 7272551, at *2 (allowing deposition testimony from different

case into evidence). Moreover, courts of appeals have reversed district court decisions denying

admission of deposition testimony where Fed. R. Civ. P. 32 would have allowed admission. See,

e.g., Rule v. International Ass’n of Bridge, Structural and Ornamental Ironworkers, Local Union

No. 396, 568 F.2d 558, 569 (8th Cir. 1977) (“[W]e conclude that the District Court erred in

excluding the depositions . . .”).

    III.      CONCLUSION

           For the foregoing reasons, the Acting Secretary respectfully requests she be permitted to

enter the Linkosky deposition into evidence at trial.

                                                       Respectfully submitted,

                                                       Seema Nanda
                                                       Solicitor of Labor

                                                       Christine Z. Heri
                                                       Regional Solicitor

                                                       Leah A. Williams
                                                       Associate Regional Solicitor


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                                            /s/ Rina R. Russo
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on June 21, 2024, the foregoing document was filed electronically with
the Court’s electronic filing system. Notice of this filing will be sent to all parties by operation of
the Court’s electronic filing system.


                                                       /s/ Rina R. Russo
                                                       RINA R. RUSSO




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